                  Case 1:25-cv-00596-ELH                 Document 13-4          Filed 02/25/25       Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                   __________      of Maryland
                                                               District of __________

                        AFSCME et al.                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. ELH-25-596
                                                                    )
           Social Security Administration et al.                    )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. DIGITAL SERVICE (U.S. DOGE SERVICE)
                                           736 Jackson Pl NW
                                           Washington, DC 20503




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Mark B. Samburg
                                           Democracy Forward Foundation
                                           P.O. Box 34553
                                           Washington, D.C. 20043


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:             02/25/2025
                                                                                        Signature of Clerk or Deputy Clerk
